
PER CURIAM.
Oliver Bell appeals the summary denial of his motion for postconviction relief filed pursuant to Florida Rule of Criminal Procedure 3.850. The trial judge denied the motion without an evidentiary hearing and, in her order, made specific references to attachments from the court file which appear to refute the appellant’s allegations. Unfortunately, the references were not attached to the denial order. We have attempted to supplement the record but the clerk’s office has not been able to locate the referenced attachments.
Accordingly, we reverse the trial court’s denial of appellant’s motion and remand the case to the trial court for further proceedings.
CAMPBELL, A.C.J., and HALL and THREADGILL, JJ., concur.
